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                                   UNITED STATES DISTRICT COURT
                                   SOUTHERN DISTRICT OF INDIANA
                                       INDIANAPOLIS DIVISION

   ERIN ALDRICH, LONDA BEVINS,                      )
   JESSICA JOHNSON, and BEATA                       )
   CORCORAN, individually and on
   behalf of all others similarly situated,         )
                                                    )
               Plaintiffs,                          )         Case No. 1:20-cv-02310-JRS-MG
                                                    )
   vs.                                              )

   NATIONAL COLLEGIATE                              )
   ATHLETIC ASSOCIATION and THE                     )
   BOARD OF GOVERNORS OF THE                        )
   NATIONAL COLLEGIATE                              )
   ATHLETIC ASSOCIATION,                            )
                                                    )
               Defendants.                          )


          STIPULATION AND [PROPOSED] ORDER REGARDING DISCOVERY OF
          ELECTRONICALLY STORED INFORMATION (“ESI”) AND HARD COPY
                                 DOCUMENTS

  I.       GENERAL GUIDELINES

           1.         General. The purpose of this Order is to facilitate the exchange of ESI and hard

  copy documents in accordance with the Federal Rules.

           2.         Scope. Except as specifically set forth herein, this Order does not: (a) alter or

  affect the applicability of the Federal Rules of Civil Procedure (“Federal Rules”) or any Local

  Rules of the Southern District of Indiana (“Local Rules”), as applicable; (b) address, limit,

  determine, or affect the relevance, discoverability, or admissibility as evidence of any document

  or ESI, regardless of whether the document or ESI is to be preserved, is preserved, or is

  produced; or (c) alter or affect the objections to discovery available under the Federal Rules.




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           3.    Limitations and Non-Waiver. By stipulating to this Order and agreeing to

  produce documents, generally, in a particular form or forms, no party waives any objections to

  producing any particular document or category of documents on any grounds whatsoever.

           4.    Variations. If any Party 1 identifies a circumstance where application of this

  Order is not reasonably feasible, the Party will disclose to the Party requesting the ESI or hard

  copy documents (“Requesting Party”) the reason(s) for, and circumstances surrounding, the need

  to vary from this Order, and the Parties will meet and confer in an effort to reach agreement on

  an appropriate deviation from this Order. In the event the Parties cannot reach agreement, the

  matter may be submitted to the Court for determination.

           5.    Cooperation. The Parties are aware of the importance the Court places on

  cooperation, and commit to cooperate in good faith throughout the matter consistent with their

  obligations under the Federal Rules, in particular Rule 1.

  II.      IDENTIFICATION AND COLLECTION OF DOCUMENTS AND ESI

           6.    Custodians and Sources. The Parties have agreed to meet and confer and

  exchange information regarding the following: (a) the identity and role of custodians from which

  documents and ESI may be obtained for production; (b) the identity, scope, and format of

  custodial and non-custodial sources from which documents and ESI may be obtained for

  production; (c) the identity and scope of sources of documents and ESI that may be produced

  without the use of technology assisted review or search terms; (d) applicable timeframe(s) for

  collection and review of documents and ESI; and (e) prioritization of categories of documents

  and ESI that may be collected, reviewed, and produced. Where applicable, sources of




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   “Party,” “Receiving Party,” and “Producing Party” shall have the same meaning as in the
  Protective Order entered by the Court in this case.

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  Documents, on which the parties will meet and confer, include, but are not limited to, computers,

  laptops, local hard drives, file servers, databases, SANs, NASs, email servers, web servers,

  network home or personal file shares, any shared drives, document management systems (DMS),

  record management systems (RMS), content management systems (CMS),

  departmental/project/collaborative/shared storage spaces, removable storage, on-line data storage

  (e.g., Dropbox or Google Drive), messaging applications and programs, phones, tablets, social

  media, and physical or hard copy files and documents.

           7.    Known Responsive ESI Must Be Produced. Reasonably accessible documents

  or ESI known to a custodian to be responsive to a discovery request or relevant to the subject

  matter of this action shall be produced without regard to whether it was responsive to any search

  methodology described herein or developed in accordance with this Order, unless Counsel

  specifically identifies the documents being withheld pursuant to a specific objection. If a

  Producing Party is aware of inaccessible data that is likely to contain unique, discoverable ESI, it

  will identify the source from which it claims the data is not reasonably accessible.

           8.    Search Methodology. If the Producing Party is filtering documents to eliminate

  collected documents from review, the Parties will meet and confer about search and filtering

  methodologies and parameters. The Producing Party will disclose any list of search terms, and/or

  date filters, and the Receiving Party may propose additional parameters. The Parties shall

  participate in a cooperative approach and agree to meet and confer regarding the search protocol

  and to raise any disputes regarding the search protocol for resolution by the Court.




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           9.    Use of Predictive Coding or Other Search Technologies. If at any point a party

  intends to use predictive coding (including technology-assisted review or “TAR” 2), the party will

  disclose such intent to the Receiving Party and the Parties will meet and confer regarding an

  appropriate protocol.

           10.   Unsearchable Documents. Documents which are reasonably believed to be

  responsive to discovery requests and not subject to objections and for which text-based search

  technologies are fundamentally ineffective must be reviewed without culling by search terms,

  predictive coding, or other technologies that rely primarily on text.

           11.   Continuing Obligations. The Parties recognize that discovery shall be an

  iterative and cooperative process. The Parties will continue to meet and confer regarding any

  issues as necessary and appropriate. This Order does not address or resolve any objections to the

  scope of the Parties’ respective discovery requests.

           12.   Reservation of Rights. Upon reviewing any production made by another Party in

  this action or conducting other investigation and discovery, any Receiving Party may request that

  documents from additional non-custodial data sources and custodians be produced, or request to

  reassess or confer regarding the parameters used for document collection, search, review and

  validation process, and any Producing Party may object to such requests.




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    “Technology-assisted review” is defined as “A process for prioritizing or coding a collection of
  electronically stored information using a computerized system that harnesses human judgments
  of subject-matter experts on a smaller set of documents and then extrapolates those judgments to
  the remaining documents in the collection.” The Sedona Conference Glossary: eDiscovery and
  Digital Information Management, Fifth Edition, 21 SEDONA CONFERENCE J. 263 (2020).

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  III.     FORM OF PRODUCTIONS

           13.   ESI File Types and Formats. All unredacted spreadsheet (e.g., Microsoft Excel,

  Corel Quattro, etc.) files shall be produced as native files with TIFF placeholder images. All

  media files, such as audio and video files (e.g., .wav, .mpeg, and .avi), files shall also be

  produced as native files with TIFF placeholder images. A party may seek other document types

  in native format on a showing of good cause. Emails and all other documents shall be produced

  as TIFFs. If documents cannot be produced in a readable format in TIFF, the Producing Party

  will produce them in a reasonably useable format.

           14.    TIFF Images. Documents produced with TIFF images shall be named according

  to the Bates number of the corresponding TIFF image. Each *.tiff file should be assigned a

  unique name matching the Bates number of the corresponding image. All TIFF images should be

  provided in single-page, Group IV TIFF with a resolution of 300 DPI. Bates numbers and

  confidentiality designations should be electronically branded on each produced *.tiff image.

  These *.tiff images should be provided in a separate folder and the number of TIFF files per

  folder should be limited to 1,000 files. Original document orientation as displayed in the native

  file should be maintained in the TIFF image (i.e., portrait to portrait and landscape to landscape).

           15.   Metadata. The metadata fields detailed in Appendix A should be produced for

  each document to the extent that such information is available at the time of collection and

  processing, except that if a field contains privileged information, attorney work product, or

  information otherwise protected from disclosure, that information may be redacted and any

  redacted information must be noted in a corresponding privilege/redaction log, as described in

  Section V below. The producing party must populate, where possible, the (a) BegBates,

  (b) EndBates, (c) BegAttach, (d) EndAttach, (e) Custodian, (f) NativeFileLink, (g) TextPath,




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  (h) Redaction status, and (i) Confidentiality designation fields. These fields should be populated

  for all produced ESI, as well as paper Documents converted to electronic form, regardless of

  whether the fields can be populated pursuant to an automated process. Other than paper

  Documents converted to electronic form, ESI shall be processed in a manner that preserves the

  source native file and relevant metadata without modification, including their existing time and

  date metadata consistent with the requirements provided in this Order.

           16.    Native Files. Any file produced in native file format shall be given a file name

  consisting of a unique Bates number and, if applicable, a confidentiality designation; for

  example, “NCAA00000002_Confidential.” For each native file produced for which a TIFF

  rendering of the document is not produced, the production will include a *.tiff image slipsheet

  indicating the production number of the native file and the confidentiality designation, and

  stating “File Provided Natively.” To the extent that it is available, the original document text

  shall be provided in a document-level UTF-8 text file with a text path provided in the *.dat file;

  otherwise the text contained on the slipsheet language shall be provided in the *.txt file with the

  text path provided in the *.dat file. Native files will be produced in a separate folder on the

  production media.

           17.   Production Format for Hard Copy Documents. Documents that exist in

  hardcopy will be scanned to *.tiff image format and produced with a load file, single page TIFF

  images in the same format as electronic files, except the metadata fields provided will be limited

  to in accordance with the specifications set forth on Appendix A. Also, instead of extracted text,

  OCR text will be provided, if reasonably available, for scanned hard copy documents. In

  scanning paper documents, the parties will take reasonable efforts to identify and logically




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  unitize 3 obviously distinct documents. If OCR is not reasonably available, the parties shall meet

  and confer about the method of production. If documents were scanned previous to this case,

  however, and are not logically unitized, they may be produced in the format in which they were

  maintained. In the case of an organized compilation of separate documents (for example, a

  binder containing several separate documents behind numbered tabs), the document behind each

  tab should be scanned separately. Where a Document or group of Documents has an

  identification spine, “post-it note,” or any other label, the information on the label shall be

  scanned and, to the extent not privileged, produced.

           18.   Digital Photos. Where reasonably possible, all digital photographs will be

  produced as full color image files in color TIFF, pdf, or native format (such as .jpg).

           19.   Databases, Structured, Aggregated, or Application Data. The Parties will

  produce documents collected from databases or other structured databases in a reasonably

  useable format. The Parties will meet and confer to address the production and production format

  of any responsive data contained in a database or other structured or aggregated data source if the

  Producing Party cannot produce the data in a reasonably useable format. If the Producing Party

  produces responsive data prior to conferring with Receiving Party, then the Receiving Party may

  still request the production of responsive data in a different format subject to the Producing

  Party’s objection.

           20.   Non-English Documents. To the extent that documents are produced that contain

  languages other than English, in whole or in part, the Producing Party shall produce each such




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   Logical Unitization is the process of human review of each individual page in an image collection
  using logical cues to determine pages that belong together as documents. Such cues can be
  consecutive page numbering, staples, clips, binders, report titles, similar headers and footers, and
  other logical indicators.

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  document in the original language or languages in which it was written when collected. The

  Producing Party has no obligation to create a translation of the documents or any portion thereof

  for the purposes of production in this litigation, but if one already exists, it must also be

  produced along with the original, with a notation identifying it as such.

           21.   Mobile and Handheld Device Documents and Data. If non-duplicative

  responsive data contained on a mobile or handheld device that can reasonably be extracted is

  identified throughout the discovery process, that data shall be produced in accordance with this

  Order. To the extent that non-duplicative, responsive data identified on a mobile or handheld

  cannot be produced in a reasonably useable format, the Parties will meet and confer to address

  the identification, production, and production format of any non-duplicative, responsive

  documents and data contained on any mobile or handheld device.

           22.   Compressed and Encrypted Files. Compressed file types (i.e., .CAB, .GZ, .TAR

  .Z, .ZIP) shall be decompressed in a reiterative manner to ensure that a compressed files are

  decompressed into the lowest possible compression resulting in individual files. The Producing

  Party will take reasonable steps, prior to production, to unencrypt any discoverable electronically

  stored information that exists in encrypted format (e.g., password-protected) and that can be

  reasonably unencrypted.

           23.   Printing Specifications for Excel PowerPoint and Adobe PDF Files. For Excel

  PowerPoint and Adobe PDF type files that are printed to TIFF for redaction and redacted, the

  following printing options shall be enabled:




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                                     Excel Print to TIFF Options
               •   Unhide columns and rows
               •   Unhide worksheets
               •   Autofit columns and rows, settings to be over by columns first and, then down by
                   rows
               •   Wrap text
               •   Print gridlines
               •   Do not apply Autofilter
               •   Display headings
               •   Display comments
               •   Header and Footer filename field handling: Show field code


                                         PowerPoint Print to TIFF Options
               •   Print notes pages
               •   Print hidden slides
               •   Print comments

                                            Adobe Print to TIFF Options
               •   Print all sticky notes
               •   Print all comments


           24.      De-NISTing. The producing party shall take reasonable efforts to de-NIST ESI

  productions using the industry standard list of such files maintained in the National Software

  Reference Library by the National Institute of Standards & Technology. De-NISTED files need

  not be produced.

           25.      Deduplication. ESI produced by the Parties may be globally de-duplicated across

  all collected custodial and non-custodial sources using MD5 hash or SHA-1 hash. Documents are

  considered exact duplicates if a document family or stand-alone file has a matching MD5 or

  SHA-1 hash value as compared against the same document type (i.e., family or stand-alone file).

  Near-duplicate documents shall not be removed. De-duplication shall not break apart families

  and shall be performed at a family level. A document and all other documents in its attachment

  range, emails with attachments and files with extracted embedded OLE documents all constitute



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  family groups. If any member of a family group is produced, all members of that group must be

  also be produced (or logged for privilege) and no such member shall be withheld from

  production as a duplicate. The names of all custodians and non-custodial sources who were in

  possession of a document prior to deduplication will be populated in the ALL CUSTODIANS

  metadata field. The original folder paths of a document prior to deduplication will be populated

  in the ALL FOLDER PATHS metadata field. Should the ALL CUSTODIANS or ALL FOLDER

  PATHS metadata fields produced become outdated due to rolling productions, an overlay file

  providing all the custodians and folder paths for the affected documents will be produced prior to

  substantial completion of the document production. The Producing Party agrees that the presence

  of a custodian’s name contained in the “AllCustodian” field in the metadata for a particular

  document is evidence that the custodian possessed that document in his/her custodial file.

           26.   Email Threading. Email threading techniques will be applied in production

  whenever available. If there is a concern about how documents are produced with threading, the

  parties will meet and confer in good faith to attempt to resolve.

           27.   Embedded Files. To the extent reasonably possible, embedded files are to be

  produced as family groups. Embedded files should be assigned Bates numbers that directly

  follow the Bates numbers on the documents within which they are embedded.

           28.   Collaboration Tools. The parties agree to produce the latest in time version of

  documents stored on a collaboration or document management tool. To the extent the receiving

  party desires to receive previous versions of documents, if any, the receiving party will identify

  the document(s) with specificity and the parties will engage in a meet and confer process relating

  to the same.




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           29.   Dynamic Fields. If reasonably feasible, documents with dynamic fields for file

  names, dates, and times will be processed to show the field code (e.g., “[FILENAME]”), rather

  than the values for such fields existing at the time the file is processed.

           30.   Parent-Child Relationships. For email families, the parent-child relationships

  (e.g., the association between an attachment and its parent email, or a spreadsheet embedded

  within a word processing document) should be preserved. All nonprivileged email attachments

  should be, where reasonably possible, consecutively produced with the parent email record. For

  example, if a party is producing an email with embedded attachments or hyperlinked documents,

  the attachments or hyperlinked documents must be processed and assigned Bates numbers in

  sequential order, following consecutively behind the parent email.

           31.   Bates Numbering. Bates numbering should be consistent across the production,

  contain no special characters, and be numerically sequential within a given document. The

  producing party will identify the Bates number range of each production in a cover letter or

  production log accompanying the production. If a producing party skips a Bates number or set of

  Bates numbers in a production, the producing party will identify and note the gap in the cover

  letter or production log accompanying the production. All attachments to documents will be

  assigned Bates numbers that directly follow the Bates numbers on the documents to which they

  were attached. In addition, wherever possible, each *.tiff image will have its assigned Bates

  number electronically “burned” onto the image. If the Receiving Party believes that a Bates

  number obscures the content of a Document, then the Receiving Party may request that the

  Document be produced with the Bates number in a different position.

           32.   Excluded File Types. Absent a particularized need and good cause showing, the

  Parties agree that there is no need to collect ESI from the following sources:




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                 a.        Deleted, slack, fragmented, or other data only accessible by forensics;

                 b.        Random access memory (RAM), temporary files, or other data difficult to

  preserve without disabling the operating system;

                 c.        On-line access data such as temporary internet files, history, cache,

  cookies, and the like;

                 d.        Back-up data that is duplicative of data that can be collected elsewhere;

  and

                 e.        Server, system, or network logs.

           33.   Redactions. No redactions for relevance may be made within a produced

  document or ESI item. Any redactions shall be clearly indicated on the face of the document,

  with each redacted portion of the document stating that it has been redacted and the basis for the

  redaction, and a metadata field shall indicate that the document contains redactions and the basis

  for the redaction (e.g., “Privileged”). All redactions must be logged in a Privilege/Redaction Log,

  as described in Section V below. Where a responsive family of documents contains both

  redacted and non-redacted content, or both produced and withheld documents, the Parties shall

  produce the remainder of the non-redacted portions of the family of documents as TIFFs rather

  than natives, except for Excel spreadsheets which may be redacted in native form, and with the

  text/OCR corresponding to the non-redacted portions. Documents that sometimes do not render

  in a readable format to TIFF, such as Excel spreadsheets, may be redacted in native form as long

  as the Producing Party keeps a pristine, unredacted copy of the native file and identifies the

  natively redacted documents to the receiving party in the production cover letter or by way of a

  native redaction field. A document's status as redacted does not relieve the producing party from

  providing all of the metadata required herein. If modification of a native file is required for




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  redaction purposes, metadata information associated with that file should remain unchanged,

  unless it also requires redaction.

           34.    Other Documents. All TIFF images of redacted native files shall be processed to

  show and reveal all hidden text, including track changes, comments, and hidden content in Word

  documents and speaker notes and hidden content in PowerPoint files. Where reasonably possible,

  any occurrences of date/time auto field items, including in headers and footers, will be removed

  and replaced with the term AUTODATE to prevent the current date from being printed. Email

  header information (e.g. date, subject line, etc.) should not be redacted unless it is independently

  privileged. The production of a document in a redacted form does not affect the Parties’

  obligation to timely assert and substantiate the assertion of privilege over the content in a

  privilege/redaction log.

           35.    Color. The requesting party may request the reproduction of documents in color

  TIFF format, JPEG format, or in native format where color facilitates understanding of the

  document.

           36.    Load File Formats. ESI will be produced with a standard Concordance (*.dat)

  load file format and an image load file that is in .OPT format. The Concordance (*.dat) load file

  shall contain a relative path to the corresponding Native file, and be provided with UTF-8

  encoding.

           The data load file should use standard Concordance delimiters:

                        •    Comma - ¶ (ASCII 182);

                        •    Quote - þ (ASCII 254);

                        •    Newline - ® (ASCII174).

                        •    The first line of the .DAT file should contain the field names arranged

                             in the same order as the data is arranged in subsequent lines.


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                        •   All date fields should be produced in mm/dd/yyyy format, if possible.

                            Date fields may be combined date/time fields

                        •   All produced attachments should sequentially follow the parent

                            Document/email.


           The image load file must be in standard Option (.OPT) format and must reference each

  TIFF file in the corresponding production, and the total number of TIFF files referenced in the

  load file must match the total number of image files in the production. The total number of

  Documents referenced in a production’s data load file should match the total number of

  designated Document breaks in the corresponding image load file for that production. In any

  deliverable volume, documents should be organized in such a way that each folder in the volume

  contains 1000 files (each TIFF page or native file is a single file) as one file per folder.

                        •   Every image in the delivery volume should be cross-referenced in the

                            image load file.

                        •   The imageID key should be named the same as the Bates number of the

                            page.

                        •   Load files should not span across media (e.g., CDs, DVDs, hard drives,

                            etc.), i.e., a separate volume should be created for each piece of media

                           delivered.
           37.    Extracted Text and OCR. Each document, whether produced in Native or in

  TIFF format, and whether originally existing in electronic or in hard copy, shall be produced

  with extracted text or OCR (subject to paragraph 12, above), as described herein.

                  a.     Extracted Text (Emails, Unredacted Native ESI, and Natively Redacted

  Spreadsheets). All email, un-redacted ESI, and redacted spreadsheets produced as native files,

  should be provided with complete document-level extracted text files. Extracted text shall



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  include all comments, track changes, and hidden content in Word documents and speaker’s notes

  and hidden content in PowerPoint files. Text extracted from emails shall include all header

  information that would be visible if the email was viewed in Outlook including: (1) the

  individuals to whom the communication was directed (“To”), (2) the author of the email

  communication (“From”), (3) who was copied and blind copied on such email (“CC” and

  “BCC”), (4) the subject line of the email (“RE” or “Subject”), (5) the date and time of the email,

  and (6) the names of any attachments.

                 b.      OCR (Redacted Native ESI, Hard Copy Documents). In the event a

  document, other than natively redacted spreadsheets, e.g., Excel files, contains text that is to be

  redacted, Optical Character Recognition (“OCR”) text files should be provided for any un-

  redacted portions of the documents. Document-level OCR text files shall also be provided for all

  hard copy scanned documents subject to the caveat in paragraph 17, above. OCR software must

  be set to the highest quality setting for any previously unscanned paper documents, and

  reasonable quality control measures shall be used to ensure that the integrity of scanned copies of

  previously unscanned paper documents are preserved for OCR (e.g., pages are not angled or

  skewed, text is not blurred or obscured, etc.). Documents containing foreign language text must

  be OCR’d using the appropriate settings for that language, (e.g., OCR of German documents

  must use settings that properly capture umlauts and OCR of Asian language documents must

  properly capture the relevant Asian characters). Settings such as “auto-deskewing” and “auto-

  rotation” must be turned on during the OCR process to maximize text recognition on any given

  page.




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                  c.     Format of Extracted Text and OCR. The extracted full text and/or OCR

  text for all deliverables should be in separate document-level, UTF-8 TXT files provided in a

  separate folder. The number of TXT files per folder should be limited to 1,000 files.

            38.   Exception Files. The Parties will use reasonable efforts and standard industry

  practices to address documents that present imaging or form production problems (including

  encrypted and/or protected files identified during the processing of ESI where the document

  appears to contain relevant content).

  IV.       PROCESSING OF NON-PARTY DOCUMENTS

            39.   This ESI Protocol shall apply to any non-Party that produces documents in this

  action.

            40.   A Party that issues a non-Party subpoena (“Issuing Party”) must include a copy of

  this Order with the subpoena and request that the non-Party produce documents in accordance

  with the specifications set forth herein.

            41.   The Issuing Party is responsible for producing to all other Parties any document(s)

  obtained pursuant to a subpoena to any non-Party in the form in which the document(s) was/were

  produced by the non-Party. To the extent practical given the data volume and load time,

  productions by a non-Party should be produced by the Issuing Party to all other Parties within

  fourteen (14) calendar days of the non-Party’s production to the Issuing Party.

            42.   For the avoidance of doubt, nothing in this Order is intended to or should be

  interpreted as narrowing, expanding, or otherwise affecting the rights of the Parties or non-

  Parties to object to a subpoena.




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  V.        PRIVILEGE/REDACTION LOGS

            43.   The Parties recognize that some documents may be redacted or withheld on the

  grounds of attorney-client privilege, work-product doctrine, or other similar protection

  (collectively, “privilege”). Absent further agreement by the parties, the Parties agree to produce a

  privilege/redaction log within 45 days of the first production, to the extent any documents were

  withheld/redacted on privilege grounds, and on a rolling basis 45 days after each production

  thereafter.

            44.   The rolling privilege/redaction logs from the Producing Party shall be in a

  searchable/sortable Excel format. For each responsive document withheld or redacted because of

  privilege, the Parties agree to include the following information on the privilege/redaction log:

                  a.     Custodian and/or source of the document (the name of the person(s) or

  non-custodial source from which the document was collected);

                  b.     Date of the document if available in the metadata or on the face of the

  document;

                  c.     Document Type (file extension or msg or similar indication of file type for

  email);

                  d.     Document Title (documents), so long as the disclosure would not reveal

  information itself privileged or protected; if the disclosure would reveal information itself

  privileged or protected, then the field shall indicate “Privileged;”

                  e.     Subject Line (email), so long as the disclosure would not reveal

  information itself privileged or protected; if the disclosure would reveal information itself

  privileged or protected, then the field shall indicate “Privileged;”




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                   f.      For documents produced, but redacted on the ground of privilege, the

  starting and end Bates number and for other documents not produced, a numerical identifier;

                   g.      Author(s);

                   h.      All recipient(s), CC(s), BCC(s) (for e-mail and hard-copy communication

  such as letters and internal memoranda);

                   i.      General description of the nature (e.g., letter, memorandum, handwritten

  notes), including any person identified is an attorney or an employee of any Defendants’ or

  Plaintiff’s legal department or outside counsel firm, 4 and subject matter of the document

  sufficient to allow the receiving party to assess the claimed privilege and/or to allow the Court to

  rule upon the applicability of the claimed protection;

                   j.      The basis for the privilege claim (e.g., attorney-client; work product);

           When the document is an e-mail thread containing one or more separate e-mails, it shall

  be logged as one entry, and the Date, Author and Recipient(s), CC(s) and BCC(s) fields on the

  log can be populated from the top line e-mail as long as the Party withholding documents

  adequately describes the basis of the privilege claim. To the extent the top-line email does not

  adequately disclose the basis of the privilege claim, additional information about the embedded

  emails will be included. Each document within a family (e.g., a cover email with an attachment)

  for which a Party claims a privilege shall be separately logged. If, due to the number of

  privileged documents involved, creating a privilege/redaction log with the information noted

  above would create an undue burden, the parties will meet in good faith and discuss whether a

  categorical log or other method may be appropriate.




  4
      Names of counsel or counsel’s staff shall be designated with an asterisk.


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           45.      The inadvertent or mistaken disclosure of any material in this action is not a

  waiver of the attorney-client privilege, work product doctrine or any other asserted privilege in

  any other federal or state proceeding, pursuant to Federal Rule of Evidence 502(d).

           46.      If any disputes arise concerning any privilege/redaction log, the Parties shall meet

  and confer to try to reach a mutually agreeable solution.

  VI.      MISCELLANEOUS PROVISIONS

           47.      Document Storage. During the pendency of this litigation, the Parties shall

  preserve the originals of all hard copy (to the extent it is available) and ESI documents produced

  to the opposing parties, and preserve the original native format version of any ESI produced in

  nonnative format. Each party reserves the right to request to inspect such documents of the

  opposing party or parties. If such request to inspect is denied, the party may seek relief from the

  Court.

           48.      Preservation. The Parties shall have a continuing obligation pursuant to Fed. R.

  Civ. P. 26 to identify and preserve custodial and non-custodial data sources that may contain

  information that is relevant to the claims and defenses in this litigation.

           49.      Third Party Data. The Parties will meet and confer before serving any

  subpoenas in this matter on commercial e-mail providers, such as Google™ or Yahoo™, or any

  social media companies such as Facebook™ or Twitter™.

           50.      Effect of Order. The Parties’ agreement to this Order is without prejudice to the

  right of any Party to seek an order from the Court to rescind or amend this Order for good cause

  shown. Nothing in this Order abridges the rights of any person to seek judicial review or to

  pursue other appropriate judicial action with respect to any discovery ruling made by the Court

  in this matter.




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           51.   Good Faith Compliance and Conferral Obligation. The Parties will make good

  faith efforts to comply with and resolve any differences concerning compliance with this Order.

  No Party may seek relief from the Court concerning compliance with this Order unless it has first

  conferred with the other Parties.

           52.   Encryption. To maximize the security of information in transit, any media or file

  sharing electronic document repository on which documents are produced must be encrypted.

  Production deliverables provided via File Transfer Protocol (“FTP”) shall be made available on a

  secured FTP connection. In such cases, the Parties shall transmit the encryption key or password

  to a requesting Party, under separate cover, contemporaneously with sending the encrypted

  media, or correspondence indicating the availability of the encrypted FTP deliverables.

           53.   Modifications. This Order may be modified by a stipulation of the Parties or by

  the Court for good cause shown.

  VII. ESI LIAISONS
           54.   To promote transparency, communications, and cooperation between the Parties,

  the Parties shall designate e-discovery liaisons for purposes of meeting and conferring on ESI

  topics. As proposed by the Parties, the ESI liaison for Plaintiffs shall be Annika Martin of Lieff

  Cabraser Heimann & Bernstein, or her designee, and the ESI liaison for the NCAA shall be

  Carolyn Luedtke and Terra Castillo Laughton at Munger, Tolles & Olson LLP, or their

  designees.




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  IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.



  DATED: ___July 21, 2021_______    ____/s/ Annika K. Martin __________
                                          Attorneys for Plaintiffs



  DATED: __July 21, 2021_______    ____/s/ Carolyn Hoecker Luedtke______
                                           Attorneys for Defendants
                                           National Collegiate Athletic Association
                                           and The Board of Governors of the
                                           National Collegiate Athletic Association



  PURSUANT TO STIPULATION, IT IS SO ORDERED.



  DATED: ________________________       _____________________________________
                                         United States District/Magistrate Judge




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                                             Appendix A

                           Fields to Exchange (where reasonably available)

               FIELD NAME                     FIELD DESCRIPTION                   APPLICABLE
                                                                                  FILE TYPE(S)
      BEGBATES                        Beginning production number for a          Email, E-Doc
                                      given file/document                        and Other 5
      ENDBATES                        Ending production number for a given       Email, E-Doc
                                      file/document                              and Other
      BEGATTACH                       Production number of first page of         Email, E-Doc
                                      parent                                     and Other
      ENDATTACH                       Production number of last page of last     Email, E-Doc
                                      attachment                                 and Other
      CUSTODIAN                       If the Producing Party’s vendor            Email, E-Doc
                                      maintains separate Custodian and           and Other
                                      Duplicate Custodian fields, this field will
                                      be populated with the person, shared file
                                      or other source from whom the original
                                      file was collected
      All CUSTODIAN                   If the Producing Party’s vendor             Email and E-Doc
                                      maintains separate Custodian and
                                      Duplicate Custodian fields, this field will
                                      be populated with the name of other
                                      custodians the Producing Party agreed to
                                      produce who had the file but where the
                                      file was eliminated through
                                      deduplication. If the Producing Party’s
                                      vendor does not maintain separate
                                      Custodian and Duplicate Custodian
                                      fields, this field will be populated with
                                      the names of all custodians the
                                      Producing Party agreed to produce who
                                      had the file
      FILEEXT                         File extension                              Email and E-Doc
      HASH                            MD5 Hash Value                              E-mail and E-
                                                                                  Doc
      SUBJECT                         E-mail subject                              E-mail
      DOCTITLE                        Title field for documents                   E-doc
      FROM                            Sender                                      E-mail
      TO                              Recipient                                   E-mail
      CC                              Copyee                                      E-mail
      BCC                             Blind Copyee                                E-mail

  5
      “Other” is defined as documents maintained in image file format or that were scanned from hard
  copy.


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               FIELD NAME                    FIELD DESCRIPTION                     APPLICABLE
                                                                                   FILE TYPE(S)
      DATESENT             Date Sent & Time (MM/DD/YYYY                            E-mail
                           HH:MM)
      DATERECEIVED         Date Received & Time (MM/DD/YYYY                        E-mail
                           HH:MM)
      MESSAGE ID           Message ID field                                        E-mail
      EMAIL   CONVERSATION Field identifies e-mails within the same                E-mail
      INDEX                thread
      AUTHOR               Author                                                  E-Doc
      DATELASTMOD          Date modified & Time (MM/DD/YYYY                        E-Doc
                           HH:MM)
      DATECREATED          Date created & Time (MM/DD/YYYY                         E-Doc
                           HH:MM)
      DATELASTPRINTED      Date last printed & Time (MM/DD/YYY                     E-Doc
                           HH:MM)
      FILENAME             Original file name                                      E-Doc
      PAGE COUNT           Number of pages in document                             E-mail and E-
                                                                                   doc
      ATTACHMENT COUNT               Number of attachments to, or documents        E-mail and E-
                                     embedded in, an email or edoc                 doc
      ATTACHMENT TITLE               Title of all attachments
      APPLICATION                    Type of application used to generate the      E-mail and E-
                                     document                                      doc
      DOCUMENT CATEGORY              The category of document (Email, E-           E-mail and E-
                                     doc)                                          doc
      FILE SIZE                      The category of document (Email, E-           E-mail and E-
                                     doc)                                          doc
      ORIGINAL FOLDER PATH           The folder path from which the                E-mail and E-
                                     document was collected if it is feasible to   doc
                                     collect for a particular set of data
      ALL FOLDER PATHS               The locations where copies of the item        E-mail and E-
                                     were located at the time of collection        doc
      DOC EXTENSION                  The file extension of the document            E-mail and E-
                                                                                   doc
      REDACTED                       Identifies whether the document is            E-mail, E-doc
                                     redacted                                      and Other
      NATIVEFILE                     Path to native file as produced for Excel     Native
                                     spreadsheets and any other native files
                                     produced
      TEXTPATH                       Path to OCR or extracted text file            E-mail, E-Doc
                                                                                   and Other 6

  6
   A Producing Party may not OCR documents originally maintained in hard copy or in imaged file
  format if the expense is not justified and may produce them as they are kept in the ordinary course



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               FIELD NAME                  FIELD DESCRIPTION                   APPLICABLE
                                                                               FILE TYPE(S)
   TIMEZONE                        The time zone in which the documents       E-mail and E-
                                   were processed                             Doc
   CONFIDENTIALITY LEVEL           Level of confidentiality assigned          E-mail, E-Doc
                                   pursuant to the Protective Order entered   and Other
   PRODUCING PARTY                 The name of the party producing the        E-mail, E-Doc
                                   documents                                  and Other
   LAST MODIFIED BY                Internal file property: the last person    E-Doc
                                   who modified the document
   HASHIDDENTEXT                   Identification of hidden fields in the     E-Doc
                                   documents
   HASHIDDENSLIDES                 Identification of hidden fields in the     E-Doc
                                   documents
   HASSPEAKERNOTES                 Identification of hidden fields in the     E-Doc
                                   documents
   HASHIDDENROWS                   Identification of hidden fields in the     E-Doc
                                   documents
   HASHIDDENCOLUMNS                Identification of hidden fields in the     E-Doc
                                   documents
   HASHIDDENWORKSHEETS             Identification of hidden fields in the     E-Doc
                                   documents




  of business. In that circumstance, the Producing Party will identify the Bates numbers of the
  documents that have not had OCR applied and for which extracted text is not available in the
  production cover letter.


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